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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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OREGON BREWING COMPANY et al.,
PlaintiffS,
-against-
ROGUE APPAREL GROUP, INC., : 18 Civ. 11108 (GBD)

Defendant.

GEORGE B. DANIELS, United States District Judge:

The unopposed motion to substitute a party pursuant to Federal Rule of Civil Procedure
25(c), (ECF No. 44), is GRANTED. The Clerk of Court is directed to close the motion at ECF
No. 44.
Dated: New York, New York

November 4, 2020
SO ORDERED.

Lissa: Bb Darl

HOR B. DANIELS
ited States District Judge

 

 

 
